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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION


 ERNEST HAYWARD WARD,
             Plaintiff,
                                                  CIVIL ACTION FILE
 vs.
                                                   NO. 3:17-cv-0183-TCB
 DR COLE PUGH, TED ALFORD,
 SEQUITA FREEMAN, KAREN CAGLE,
 PAT BARTON, TROUP COUNTY
 BOARD OF EDUCATION, AND TROUP
 COUNTY SCHOOL DISTRICT,
               Defendant(s).



                                     JUDGMENT

       This action having come before the court, Honorable Timothy C. Batten, Sr.,

United States District Judge, for consideration of the Defendant‘s Motion for Summary

Judgment, the court having Granted said motion, and having previously dismissed: Cole

Pugh, Ted Alford, Sequita Freeman, Karen Cagle, Pat Barton, and the Troup County

Board of Education, it is

       Ordered and Adjudged that the plaintiff take nothing; that the defendant recover

its costs of this action, and the action be, and the same hereby is, dismissed.

       Dated at Atlanta, Georgia, this 8th day of April, 2020.

                                                        JAMES N. HATTEN
                                                        CLERK OF COURT


                                                   By: s/ D. Barfield
                                                   Deputy Clerk
Prepared, Filed, and Entered
in the Clerk's Office
April 8, 2020
James N. Hatten
Clerk of Court

By:    s/ D. Barfield
       Deputy Clerk
